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                                        ATTACHMENT 1

                                   LIST OF RELATED CASES

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a petition for relief under chapter 11 of title 11 of the United States Code
in this Court. Contemporaneously with the filing of these petitions, these entities filed a motion
requesting that their respective chapter 11 cases be jointly administered for procedural purposes
only.

                                   NAME                                  TAX ID NO.
             EDMG, LLC                                                   XX-XXXXXXX
             NEC Amarillo Emergency Center, LP                           XX-XXXXXXX
             NEC Amarillo South Emergency Center, LP                     XX-XXXXXXX
             NEC Bellaire Emergency Center, LP                           XX-XXXXXXX
             NEC Baytown Emergency Center, LP                            XX-XXXXXXX
             NEC Baytown Asset Holdings, LLC                             XX-XXXXXXX
             NEC Brownsville Emergency Center, LP                        XX-XXXXXXX
             NEC College Station Emergency Center, LP                    XX-XXXXXXX
             NEC Crosby Emergency Center, LP                             XX-XXXXXXX
             NEC Eastside Emergency Center, LP                           XX-XXXXXXX
             NEC Greeley Emergency Center, LP                            XX-XXXXXXX
             NEC Harlingen Emergency Center, LP                          XX-XXXXXXX
             NEC Kerrville Emergency Center, LP                          XX-XXXXXXX
             NEC Kingwood Asset Holdings LLC                             XX-XXXXXXX
             NEC Kingwood Emergency Center, LP                           XX-XXXXXXX
             NEC Lakeline Emergency Center, LP                           XX-XXXXXXX
             NEC Longview Emergency Center, LP                           XX-XXXXXXX
             NEC Lubbock Emergency Center, LP                            XX-XXXXXXX
             NEC Lufkin Emergency Center, LP                             XX-XXXXXXX
             NEC McAllen Emergency Center, LP                            XX-XXXXXXX
             NEC Midland Emergency Center, LP                            XX-XXXXXXX
             NEC Mueller Emergency Center, LP                            XX-XXXXXXX
             NEC Odessa Emergency Center, LP                             XX-XXXXXXX
             NEC Orange Emergency Center, LP                             XX-XXXXXXX
             NEC Paris Emergency Center, LP                              XX-XXXXXXX
             NEC Pasadena Emergency Center, LP                           XX-XXXXXXX
             NEC Pearland Asset Holdings, LLC                            XX-XXXXXXX
             NEC Pearland Emergency Center, LP                           XX-XXXXXXX
             NEC Port Arthur Emergency Center, LP                        XX-XXXXXXX
             NEC Porter Emergency Center, LP                             XX-XXXXXXX
             NEC San Angelo Emergency Center, LP                         XX-XXXXXXX
             NEC Texarkana Emergency Center, LP                          XX-XXXXXXX
             NEC Texas City Emergency Center, LP                         XX-XXXXXXX


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                                  NAME                       TAX ID NO.
             NEC Tyler Emergency Center, LP                  XX-XXXXXXX
             NEC West Warwick Emergency Center, LP           XX-XXXXXXX
             NEC Wichita Falls Emergency Center, LP          XX-XXXXXXX
             NEC Yorktown Emergency Center, LP               XX-XXXXXXX
             NEC Zaragoza Emergency Center, LP               XX-XXXXXXX
             Neighbors Emergency Center, LLC                 XX-XXXXXXX
             Neighbors Global Holdings, LLC                  XX-XXXXXXX
             Neighbors GP, LLC                               XX-XXXXXXX
             Neighbors Health, LLC                           XX-XXXXXXX
             Neighbors Legacy Holdings, Inc.                 XX-XXXXXXX
             Neighbors Physician Group, PLLC                 XX-XXXXXXX
             Neighbors Physician Group – Colorado, LLC       XX-XXXXXXX
             Neighbors Physician Group – Rhode Island, LLC   XX-XXXXXXX
             Neighbors Practice Management, LLC              XX-XXXXXXX
             NHS Emergency Centers, LLC                      XX-XXXXXXX
             Next Door Urgent Care, LLC                      XX-XXXXXXX




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